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                                                                                            FILED
                                                                                              Clerk
                                                                                          District Court
 1                            IN THE UNITED STATES DISTRICT COURT                        JUL 19 2024
                              FOR THE NORTHERN MARIANA ISLANDS
 2                                                                               for the Northern Mariana Islands
                                                                                 By________________________
 3
         IMPERIAL PACIFIC INTERNATIONAL (CNMI),                                            (Deputy Clerk)
         LLC, BEST SUNSHINE INTERNATIONAL (BVI)                            Case No. 1 :24-cv-00002
 4       LTD.,

 5                            Plaintifs,                           ORDER DENYING DEFENDANTS'
                V.                                                 MOTIONS TO DISMISS AS MOOT
 6
         COMMONWEALTH OF THE NORTHERN
 7       MARIANA ISLANDS, ET AL.,
 8                           Defendants.
 9


10          Because Plaintiffs Imperial Pacific International (CNMI), LLC, and Best Sunshine
11   International, Ltd., filed their First Amended Complaint (ECF No. 26) on May 9, 2024, Defendants
12
     Arnold Palacios, Commonwealth of the Northern Mariana Islands ("CNMI"), 1 Andrew Yearn, Edward
13
     C. Deleon Guerrero, Rafael S. Demapan, Mariano Taitano, Martin Mendiola, and Ramon M. Dela
14
     Cruz's Motions to Dismiss Plaintiffs' Complaint are hereby MOOT. (ECF Nos. 22-25.)
15

16          IT IS SO ORDERED this 19th day of July 2024.
17

18
                                                  DAYID 0. CARTER

19
                                                  Designated Judge

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     1
24    Although the CNMI seeks to dismiss Plaintiffs' first amended complaint in the title of its Motion
     (ECF No. 23), it was filed prior to Plaintiffs' filing of their First Amended Complaint. As such, the
25   Court construes CNMI's motion as referring to Plaintiffs' Complaint. (ECF No. 1.)
                                                        1
